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                             NO. 24-1085

            UNITED STATES COURT OF APPEALS
                 FOR THE SIXTH CIRCUIT

  MICHIGAN DEPARTMENT OF ENVIRONMENT, GREAT
  LAKES, AND ENERGY, and ATTORNEY GENERAL DANA
  NESSEL, on behalf of the People of the State of Michigan,
                         Plaintiffs-Appellees

                                  v.

GERALD R. FORD INTERNATIONAL AIRPORT AUTHORITY,
                        Defendant-Appellant

        Appeal from the United States District Court for the
                   Western District of Michigan
             Hon. Jane M. Beckering, District Judge
                 Case No. 1:23-cv-01068-JMB-RSK


    Reply Brief of Appellant Gerald R. Ford International
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                            INTRODUCTION

     At the outset, the Court should be aware of a significant

procedural development that the State curiously failed to mention to

this Court. On May 20, 2024—a full 11 days before the State filed its

appellees’ brief—third-party defendants removed this case from

Michigan state court. As a result of the third-party removal, a new case

(Case No. 1:24-cv-520) in the Western District of Michigan now includes

the State’s claims against the Airport Authority, because removal by

the third-party defendants removed the entire action. 28 U.S.C.

§ 1442(a) (“A civil action . . . may be removed”).

     But the State has moved to sever the State’s claims against the

Airport Authority and to remand those claims based on the district

court’s decision that is the subject of this appeal. Motion for Severance

and Remand, RE 10, PageID.175, Mich. Dep’t of Environment, Great

Lakes, & Energy, No. 1:24-cv-520 (W.D. Mich.).) As a result, there is

still an actual controversy over whether the Airport Authority is

entitled to a federal forum, and the Airport Authority could suffer

collateral consequences from a dismissal of the appeal, so this appeal is




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not moot, although awaiting the district court’s rulings on the State’s

challenges to the new removal may be efficient.

     The Airport Authority is entitled to a federal forum. The State

sued the Airport Authority for conduct that the Airport Authority

undertook in carrying out its obligations as a contractor with the

Federal Aviation Administration. Contrary to the State’s arguments,

the Airport Authority did not waive the fact that it is a government

contractor when it raised the government-contractor defense. Because it

is a government contractor and was assisting the FAA in carrying out

the FAA’s safety responsibilities relating to firefighting, the Airport

Authority was acting under the FAA when it used FAA-required

firefighting foam and engaged in FAA-mandated firefighting activities

such as training and equipment testing. And because the State’s suit

against the Airport Authority for activities causing the release of PFAS-

containing firefighting foam into the environment relates to the FAA

requiring the Authority to use and discharge PFAS-containing

firefighting foam, this suit satisfies the statutory “relating to” test. This

Court should reverse the district court’s decision remanding the Airport

Authority’s case to state court and allow this case to proceed in the



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AFFF Multi-District Litigation in the federal district court in South

Carolina where the State of Michigan’s other AFFF lawsuits are

already pending.

                          REPLY ARGUMENT

I.   The appeal is not moot because of the collateral-
     consequences doctrine.

     While the State has not argued that the removal of the case by

third-party defendants has rendered this appeal moot, the Airport

Authority addresses this jurisdictional question because of this Court’s

independent duty to consider jurisdictional issues.

     As the Supreme Court has explained, “[a]s long as the parties

have a concrete interest, however small, in the outcome of the litigation,

the case is not moot.” Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 161

(2016) (quoting Chafin v. Chafin, 568 U.S. 165, 172 (2013)) (emphasis

added). Applying this principle, which it called the collateral-

consequences doctrine, the Ninth Circuit concluded that an appeal of a

remand order was not rendered moot by a second removal where the

plaintiff raised a challenge to the validity of the second removal.

     In Fritsch v. Swift Transportation Co. of Arizona, LLC, 899 F.3d

785 (9th Cir. 2018), the defendant, Swift, timely removed the case a


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first time, and when the district court remanded the case, the defendant

appealed. Id. at 790. The defendant then filed a second notice of

removal, based on precedent that allowed a new removal following a

change in law. Id. at 791. The plaintiff argued that the appeal was

rendered moot by the second removal “because the only relief available

to Swift is a reversal” of the district court’s remand order, which would

merely do what the second removal had already done—return the case

to the district court. Id. But the plaintiff had challenged, in the ongoing

district-court proceedings, the second removal as untimely. As a result,

the Ninth Circuit recognized that “Swift’s appeal of the first remand

order is not moot” because “if we dismiss Swift’s appeal of the first

remand as moot, Swift will have to defend against this timeliness

challenge.” Id. at 792. And in discussing precedent applying the

Supreme Court’s guidance that any interest in the outcome, “however

small,” prevents mootness, the Ninth Circuit recognized that the

possibility of a collateral consequence is sufficient: “[a] reversal by this

court could put [the plaintiff] on better footing” and “the plaintiff might

face a potential statute of limitations bar against the second action.” Id.

(emphasis added; alterations in original).



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     The situation here is parallel. The State has moved to sever its

claims against the Airport Authority and to remand those claims to

state court. The Airport Authority will challenge severance of the inter-

dependent third-party contribution claims, but also intends to renew its

arguments for federal-officer removal in the district court, which the

State presumably will oppose, and the State thus might challenge the

Airport Authority’s ability to rely on the second removal. Therefore, if

this Court were to dismiss this appeal as moot, the Airport Authority

would have to defend against this challenge, while if this Court were to

reverse, then challenges to the second removal would not matter.

Because there are potential collateral consequences, the appeal is not

moot. Campbell-Ewald, 577 U.S. at 161 (“As long as the parties have a

concrete interest, however small, in the outcome of the litigation, the

case is not moot.”).




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II.   The Airport Authority satisfies the requirements of the
      federal-officer removal statute because it is a government
      contractor assisting the FAA in carrying out firefighting
      safety.

      A.    The State’s efforts to deny the existence of a contract
            fail, and the Airport Authority presents a colorable
            government-contractor defense.

      The State argues that the Airport Authority did not raise a

colorable government-contractor defense because the Airport Authority

did not allege the existence of a contract in its notice of removal. (State

Br. 41.) But courts resolving a jurisdictional challenge are not limited to

the allegations in the notice of removal. “Because a motion to remand

shares an essentially identical procedural posture with a challenge to

subject matter jurisdiction under Federal Rule of Civil Procedure

12(b)(1), it is properly evaluated using the same analytical approach,”

Papp v. Fore-Kast Sales Co., 842 F.3d 805, 811 (3d Cir. 2016), and that

approach allows consideration of “evidence outside the pleadings to

resolve factual disputes concerning jurisdiction . . . .” Nichols v.

Muskingum Coll., 318 F.3d 674, 677 (6th Cir. 2003); see also Casias v.

Wal-Mart Stores, Inc., 695 F.3d 428, 433 (6th Cir. 2012) (“When

deciding a motion to remand . . . we may ‘pierce the pleading’”); Gentek

Bldg. Prod., Inc. v. Sherwin-Williams Co., 491 F.3d 320, 330 (6th Cir.


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2007) (“When ruling on a motion to remand, . . . federal courts may look

beyond the pleadings to assess challenged facts”).

     In the district court, the State made a factual attack on

jurisdiction, not just a facial one. (Mot. to Remand, RE 7, PageID.61

(“GFIAA is not a government contractor”), 74 (heading: “GFIAA’s

government contractor defense is not colorable since it is not a

government contractor.”), 75 (“it is not a government contractor”), 76

(“Because GFIAA is not a government contractor, the government

contractor defense is not colorable.”); Reply, RE 12, PageID.141

(describing the Airport Authority as “a non-contractor” and as “[l]acking

a contract with the federal government”).) As a result, the State’s

reliance on Mays v. City of Flint, Michigan, 871 F.3d 437, 446 (6th Cir.

2017), for the proposition that exhibits not cited in a notice of removal

may not be considered in a facial challenge to jurisdiction, is misplaced,

as is the State’s reliance on Harvey v. Great Seneca Fin. Corp., 453 F.3d

324, 327 (6th Cir. 2006), a motion-to-dismiss case applying the Rule

12(b)(6) standard.

     Here, the State challenged the existence of a contract, but the

evidence before the district court supported the contract’s existence. The



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Airport Authority submitted a letter from the FAA showing that the

Airport Authority was “an eligible Airport Improvement Program (AIP)

grant sponsor” under the FAA’s grant program. (FAA Letter, RE 10-1,

PageID.103, 106.) The Airport Authority also explained that “federal

funding of commercial airports depends upon conformance to FAA’s

requirements,” such as “[g]rant assurances.” (Opp’n, RE 10, PageID.88

& n.3.) And the Airport Authority supported this by citing “Title 49,

U.S.C., subtitle VII,” which includes the federal statutory scheme that

governs these types of contracts—that is, the federal law that provides

for project grants in return for grant assurances. E.g., 49 U.S.C. § 47108

(providing that a grant offer “shall state the obligations to be assumed

by the sponsor and the maximum amount the Government will pay for

the project from the amounts authorized”); 49 U.S.C. § 47108; see also

49 U.S.C. §§ 47104(a), 47104(b), 47107(a).

     Further, the State admits that “grant agreements are contractual

in nature.” (State Br. 34.) This evidence—indeed, the statutes by

themselves—sufficiently supports the argument that there is a contract.

Papp, 842 F.3d at 815 (“[A] defense is colorable for purposes of

determining jurisdiction under Section 1442(a)(1) if the defendant



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asserting it identifies facts which, viewed in the light most favorable to

the defendant, would establish a complete defense at trial.”) (emphasis

added).

     In light of this legal framework and of its obligation to view the

evidence in the light most favorable to the Airport Authority, this Court

is not required to ignore the reasonable inference that the second

busiest airport in Michigan has project grants—i.e., contracts—with the

FAA that are subject to the FAA’s standard grant assurances. Recall

also that the district court found that the Airport Authority’s

government-contractor defense was colorable. (Op., RE 13, PageID.149.)

Nor is this Court required to ignore Michigan law showing that the

State is directly involved in these contracts. MCL 259.135 (requiring

State approval before applying for these contracts and requiring that

funds from the FAA to airports pass through the State’s treasury).

     This is especially true given the circumstances here. First, public

documents of which this Court may take judicial notice demonstrate the

existence of multiple FAA project-grant contracts. (See Airport

Authority Br. 8–9 (linking to public FAA records showing the contracts

exist).) Second, the State’s brief has shifted from arguing that no



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contract exists (as it did in the district court) to arguing now only that

the Airport Authority did not plead sufficiently, while being careful to

no longer deny that such contracts exist. (Compare, e.g., Mot. to

Remand, RE 7, PageID.74 (heading: “GFIAA’s government contractor

defense is not colorable since it is not a government contractor.”), with

State Br. 2 (“the Airport Authority . . . did not allege that it had a

contract”), 21 (“did not allege”), and 42 (“did not plead” and “failed to

allege”).) Given that the State is challenging only the sufficiency of the

pleading, not the actual existence of a contract, this Court should take

judicial notice of those contracts. E.g., https://www.faa.gov/airports/

aip/grant_histories/annual_reports; https://www.faa.gov/sites/

faa.gov/files/airports/aip/grant_histories/annual_reports/aip-grants-

awarded-by-state-fy-2015.pdf; see Airport Authority Br. 8–9.

     Despite the above, the State also argues that the Airport

Authority waived the allegation that it is a contractor in asserting its

government-contractor defense and so cannot argue that jurisdictional

fact on appeal, but a federal statute forecloses that argument. Congress

has specifically provided that “[d]efective allegations of jurisdiction may

be amended, upon terms, in the trial or appellate courts.” 28 U.S.C.



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§ 1653 (emphasis added)); see also Miller v. Davis, 507 F.2d 308, 311

(6th Cir. 1974) (“Amendment to establish jurisdiction is broadly

permitted, so as to effectuate Congress’ intent in enacting § 1653—to

avoid dismissals on technical grounds.”); Grange Ins. Co. v. Steve Tolley

& Pam Nelson Joint Venture, No. 21-5663, 2022 WL 612801, at *1 (6th

Cir. Mar. 2, 2022) (“Under 28 U.S.C. § 1653, parties may cure defective

allegations of jurisdiction on appeal.”).

      This statute expressly allowing amendment in the appellate

courts defeats the State’s arguments that the Airport Authority waived

facts about the existence of the contracts—which had been part of the

district-court proceedings in which that court found that the Airport

Authority raised a colorable government contractor defense. Indeed,

this Court has recognized that a pleading deficiency may be cured

simply by offering evidence, which is what the Airport Authority has

done here by offering additional evidence of which this Court may take

judicial notice. See Gafford v. Gen. Elec. Co., 997 F.2d 150, 164 & n.6

(6th Cir. 1993) (“If and to the extent that GE’s petition for removal was

technically deficient in its assertion of its principal place of business, it

was cured by subsequent information GE supplied to the district court



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and entered into the record of this case.”), abrogated on other grounds

by Hertz Corp. v. Friend, 559 U.S. 77, 91 (2010); id. at 164 n.6 (“we see

no point at this point in requiring GE to file a formal amended petition

for removal”).

     In short, this Court should effectuate Congress’s intent in

enacting § 1653 by rejecting the State’s request to find a lack of

jurisdiction on technical pleadings grounds when the underlying fact

that the Airport Authority is a government contractor is not subject to

reasonable dispute.

     Other than its pleading argument, the only other argument that

the State makes about the government-contractor defense is that “there

is no ‘uniquely federal interest’ in shielding the Airport Authority from

state environmental laws” and that “[a]ny argument to the contrary is

foreclosed by Miree v. DeKalb Cnty., 433 U.S. 25 (1977).” (State Br. 43.)

But Miree merely “involved the question whether certain private parties

could sue as third-party beneficiaries to an agreement between a

municipality and the Federal Aviation Administration.” Boyle v. United

Techs. Corp., 487 U.S. 500, 506 (1988). And immediately after

discussing Miree, the Boyle Court distinguished Miree by pointing out



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that “[t]he imposition of liability on Government contractors will

directly affect the terms of Government contracts” and so did “directly

affect[]”a uniquely federal interest. Id. at 507. The same is true here.

     Because there is a contract here and because the State does not

otherwise dispute that the Airport Authority satisfies the Boyle test, the

Airport Authority has, as the district court recognized, a colorable

federal government-contractor defense.

     B.    As a government contractor assisting the FAA with
           firefighting, the Airport Authority was “acting under”
           the FAA in its firefighting activities.

     Given that the Airport Authority is a government contractor, the

principle recognized in Watson applies: “The assistance that private

contractors provide federal officers goes beyond simple compliance with

the law and helps officers fulfill other basic governmental tasks.”

Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 153 (2007).

Despite devoting four pages of its brief to Watson, the State never

acknowledges this important principle of Watson and never responds to

the multiple cases that the Airport Authority cited applying this precise

principle. E.g., Doe v. BJC Health Sys., 89 F.4th 1037, 1044 (8th Cir.

2023) (stating that “[t]he classic example of a person who acts under a



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federal officer is a government contractor” and citing cases); Latiolais v.

Huntington Ingalls, Inc., 951 F.3d 286, 291 (5th Cir. 2020) (en banc)

(holding that the defendant’s “federal contract” satisfies the condition

that “it acted ‘pursuant to a federal officer’s directions’”); Sawyer v.

Foster Wheeler LLC, 860 F.3d 249, 255 (4th Cir. 2017) (“Foster

Wheeler’s status as a Navy contractor readily satisfies the requirement

that it have acted under the Navy, as used in § 1442(a)(1)”).

     Instead, the State adopts a divide-and-conquer approach; it

responds to each factor supporting that the Authority is acting under

the FAA as if that factor stood alone, in a vacuum. The State argues

that having a contract is not enough (State Br. 31–32), that receiving

federal funds is not enough (State Br. 34), and that being subject to

“highly detailed” direction is not enough (State Br. 21). But here, where

the Airport Authority has all of these factors—it has a federal contract,

receives federal funding, and is subject to detailed federal direction—it

is acting under the FAA. Indeed, the State’s divide-and-conquer

approach is not consistent with the case on which it primarily relies,

Ohio State Chiropractic Association v. Humana Health Plan Inc., 647 F.

App’x 619 (6th Cir. 2016). In Ohio State Chiropractic, this Court



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explained that “[d]etailed regulation, monitoring, or supervision of a

contractor, however, may signify a relationship ‘unusually close’ enough

to ‘establish the type of formal delegation’ that falls within § 1442(a).”

Id. at 622 (quoting Watson, 551 at 153, 156, and adding emphasis).

Here, all three of those factors show an unusually close relationship

that goes significantly beyond merely complying with federal

regulations: the FAA supervises the Airport Authority as a contractor,

the FAA supervises and monitors the Airport Authority’s use of

firefighting foam (including dictating that it use foam that contains

PFAS), and the FAA subjects the Authority to detailed direction

regarding how, when, and where it uses foam in equipment calibration,

in training, and during FAA inspections. (See Airport Authority Br. 13–

15, 38–40.) Those FAA-directed activities are precisely what the State

claims were the “activities causing a release” of PFAS at the airport.

     None of the other cases that the State cites about the “acting

under” requirement help its argument. The first 14 pages of its

argument (pages 17 through 31) invoke cases where the person seeking

removal under § 1442(a) did not have a contract with the government.

For example, in Hudak v. Elmcroft of Sagamore Hills, 58 F.4th 845 (6th



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Cir. 2023), this Court specifically noted that “Elmcroft did not have an

agreement with the federal government” in concluding that it was not

acting under the federal government. Id. at 859. In Riggs v. Airbus

Helicopters, Inc., 939 F.3d 981 (9th Cir. 2019), the Ninth Circuit made

no mention of the aircraft manufacturer having a contract with the

government; instead, the manufacturer argued that it was acting “on an

FAA delegation” of authority by “certify[ing] compliance with governing

federal regulations.” Id. at 983, 990. And the Ninth Circuit’s discussion

in Riggs of its own “acting under” precedents recognized that the

existence of a contract matters. Id. at 986–87 (recognizing that in one

case a “private insurer was ‘acting under’ a federal officer” where the

federal government had “enter[ed] into a contract with the private

insurer for a negotiated fee,” and recognizing that in a different case

where “the government did not contract with” the private entity, that

entity was not acting under a federal officer). Similarly, Lu Junhong v.

Boeing Co., 792 F.3d 805 (7th Cir. 2015), was about an aircraft

manufacturer that was not making planes for the government and was

merely self-certifying that aircraft it produced were airworthy. Id. at

808. And the same is true of Huether v. Continental Aerospace



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Technologies, Inc., 580 F. Supp. 3d 507 (M.D. Tenn. 2022), which never

mentioned the existence of a government contract. The State’s cases

were not cases where a contractor was assisting the government with a

governmental function, as the Airport Authority is here by maintaining,

testing, and operating firefighting equipment that the FAA requires use

specifically formulated aqueous film-forming foam.

     The State presents several arguments in an effort to show that the

Airport Authority is not assisting the federal government. First, it

argues that, even though firefighting is a governmental function, it is

not a federal governmental function. (State Br. 27.) But Congress’s

directions to the FAA to provide for aviation safety, 49 U.S.C. § 106(g),

show that firefighting at airports—especially interstate and

international airports like the Airport Authority’s—is a function of the

federal government. Congress could have said nothing about

firefighting and left it to local governments to attempt to provide

firefighting capabilities at all of the nation’s airports and to train

municipal fire departments to deal with the conditions that arise during

a fire on a passenger aircraft, but Congress did not take that path.

Instead, Congress tasked the FAA with ensuring “safety in air



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transportation” by requiring airports to “operat[e] and maintain[]

adequate safety equipment, including firefighting and rescue

equipment,” 49 U.S.C. § 44706(b). In fact, federal law is so prescriptive

that “federal law establishes the standards of care in the field of

aviation safety and thus preempts the field from state regulation.”

Greene v. B.F. Goodrich Avionics Systems, Inc., 409 F.3d 784, 795 (6th

Cir. 2005). In short, these federal statutes giving the Federal Aviation

Administration responsibility over aviation safety show that firefighting

at an interstate airport is a federal function.

     The fact that the FAA delegated this function to airports does not

make it any less a government function; to the contrary, it shows that

the Airport Authority is assisting the FAA. Watson, 551 U.S. at 153

(“The assistance that private contractors provide federal officers goes

beyond simple compliance with the law and helps officers fulfill other

basic governmental tasks.”). Consider, for example, that Congress could

have created a federal agency to address fire-related safety at airports

and called it the Transportation Fire Administration, parallel to how

Congress created the Transportation Security Administration to

address security-related safety. But instead, Congress chose to ensure



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firefighting safety at airports through the FAA, and the FAA

implements that function not just through mandatory specifications and

supervision but also through requirements in its contracts with

airports.

     Second, the State cites cases where courts have held that

government contractors were not acting under a federal officer. (State

Br. 33–36.) But those cases dealt with issues such as mineral leases and

designing private websites. Specifically, the first two cases the State

cites involved energy companies leasing land from the federal

government to extract oil and gas. Bd. of Cnty. Commissioners of

Boulder Cnty. v. Suncor Energy (U.S.A.) Inc., 25 F.4th 1238, 1247 (10th

Cir. 2022); Mayor & City Council of Baltimore v. BP P.L.C., 31 F.4th

178, 231 (4th Cir. 2022). In the first of these cases, the Tenth Circuit

concluded that “[b]y winning bids for leases to extract fossil fuels from

federal land in exchange for royalty payments, Exxon is not assisting

the government with essential duties or tasks.” Suncor Energy, 25 F.4th

at 1253. The Tenth Circuit also observed that “the government does not

control the manner in which Exxon drills for oil and gas, or develops

and produces the product, nor has Exxon shown that a federal officer



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instructed it how much fossil fuel to sell.” Id. (cleaned up). In the second

case, the Fourth Circuit similarly concluded that an oil-and-gas lease

did not assist the federal government: “we are skeptical that the

willingness to lease federal property or mineral rights to a private

entity for the entity’s own commercial purposes, without more, could

ever be characterized as the type of assistance that is required to

trigger the government-contractor analogy.” BP, 31 F.4th at 232.

     In the third case the State cites, the Eighth Circuit concluded that

the private entity was not acting under the federal government because

“[t]he design of private websites is not—and has never been—a basic

governmental task.” Doe v. BJC Health Sys., 89 F.4th 1037, 1045 (8th

Cir. 2023); id. (“MyBJCHealth or MyChart was not a federal

government website, it was not a website BJC operated on the federal

government’s behalf or for the federal government’s benefit, and it was

not a website the federal government directed BJC to create or

operate.”).

     In contrast to these cases, here the FAA does control the manner

in which the Airport Authority, in operating an interstate and

international commercial airport, maintains, tests, and operates



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firefighting equipment, specifically requiring that it use a firefighting

agent from a specific federal list that includes only PFAS-containing

foams. CertAlert No. 16-05, Update on Mil-Spec Aqueous Film Forming

Foam (AFFF) at 2–3 (Sept. 1, 2016) (instructing airports to “check the

[Department of Defense] [Qualified Product Database] web site before

each AFFF purchase”), available at https://www.faa.gov/sites/faa.gov/

files/part-139-cert-alert-16-05-Mil-Spec-AFFF-website-update.pdf. And

here, as discussed earlier, firefighting is a basic governmental task, not

a task that “it is doubtful that the government would get into the

business” of doing. Ohio State Chiropractic, 647 F. App’x at 624.

     The State’s brief conveys the idea that the presence of detailed

regulation cuts against the Airport Authority being supervised by,

guided by, and monitored by the FAA. But that is backwards: while

detailed regulation, supervision, or monitoring alone may not be a

sufficient condition to show that a private entity is acting under a

federal officer, it is a necessary condition. Watson, 551 U.S. at 153

(“Government contractors fall within the terms of the federal officer

removal statute, at least when the relationship between the contractor

and the Government is an unusually close one involving detailed



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regulation, monitoring, or supervision.”) (emphasis added); Bennett v.

MIS Corp., 607 F.3d 1076, 1088 (6th Cir. 2010) (“Under these facts, we

conclude that the contractual relationship between MIS and the FAA

was an unusually close one, involving detailed regulation, monitoring,

and supervision.”) (cleaned up); Ohio State Chiropractic, 647 F. App’x at

622 (“Detailed regulation, monitoring, or supervision of a contractor,

however, may signify a relationship ‘unusually close’ enough to

‘establish the type of formal delegation” that falls within § 1442(a).’”)

(first emphasis added). Put simply, the combination here of detailed

regulation and a contractual relationship cuts in favor of, not against,

recognizing that the Airport Authority was acting under the FAA as a

government contractor, following the FAA’s specific supervision and

direction as to what firefighting foam to use and how to use it at this

commercial airport.

      C.    The State’s suit, which expressly ties PFAS releases to
            use of the FAA-mandated firefighting foam, relates to
            the FAA requiring the Authority to use the PFAS-
            containing firefighting foam.

      The third requirement for federal-officer removal is that the action

to be removed “relat[e] to any act under color of [federal] office . . . .” 28

U.S.C. § 1442(a)(1) (emphasis added). But the State never addresses


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this plain text or the cases that the Airport Authority cited, which

conclude that Congress’s use of this “relating to” language “broadened

federal officer removal to actions, not just causally connected, but

alternatively connected or associated, with acts under color of federal

office.” Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 292 (5th Cir.

2020) (en banc). The State does not deny that the district court applied

a causation standard, instead of a “relating to” standard.

     Instead, the State’s argues that there is “a distinction between

requirements to use hazardous substances and the improper disposal of

the substances after they are used.” (State Br. 38.) This argument

ignores that the State’s basic cause of action seeks to hold the Airport

Authority “responsible for an activity causing a release” (not “disposal”)

of PFAS hazardous substances. MCL 324.20126(1)(a). But even if there

is a distinction between use and disposal, that does not mean that the

alleged disposal is not related to the use. Consider, for example, when

firefighting foam is sprayed on an airplane that is on fire; one cannot

say with a straight face that the use of the foam containing PFAS is not

related to the foam hitting the ground and causing PFAS to enter the

environment. And even stepping back from an emergency to consider



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the firefighting training and equipment testing context, it is not

accurate to say that using the PFAS-containing firefighting foam during

FAA-mandated firefighting training is not related to improper disposal

of PFAS if some of the PFAS-containing foam makes its way into the

environment. Perhaps that is why the State does not deny that its own

complaint alleges a direct causal relationship between the PFAS

releases and the use of the FAA-specified firefighting foam:

“Concentrations of PFAS substances have been detected in the soil,

shallow groundwater, deep groundwater, and stormwater at the Airport

in areas where AFFF was known to be used during equipment testing,

training exercises, and related events.” (Compl., RE 1-1, PageID.17, at ¶

21; id. at ¶ 22 (“Areas of known releases of AFFF at the Airport include

. . . the former firefighting training area” and “an apron area near the

Aircraft Rescue Fire Fighting (ARFF) building”).) And the stormwater

is regulated under a federal National Permit Discharge Elimination

Permit, so its claims involve federal law, not just state law. (Accord

State Br. 4, 37.) Indeed, the FAA, just like the third-party defendants,

may ultimately need to be subject to the district court’s jurisdiction for a




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fair adjudication of liability in this case (which of course cannot happen

if the case stays in state court).

      In sum, the State’s suit alleging PFAS contamination from

firefighting foam relates directly and inextricably to the FAA requiring,

supervising, and directing the activities using and discharging PFAS-

containing firefighting foam.

                              CONCLUSION

      For these reasons, this Court should reverse the district court’s

order remanding the case to state court and hold that the district court

had jurisdiction over this case under 28 U.S.C. § 1442(a)(1) upon the

Airport Authority’s timely and proper removal.

                                            Respectfully submitted,

Dated: June 21, 2024                        By /s/ Aaron D. Lindstrom

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                 CERTIFICATE OF COMPLIANCE

     I certify that, pursuant to Federal Rule of Appellate Procedure 32

(a)(7)(B) and Sixth Circuit Rule 32, the attached reply brief is

proportionately spaced, has a typeface of 14 points, or more and

contains 4,847 words.



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                     CERTIFICATE OF SERVICE

     I hereby certify that on June 21, 2024, I electronically filed the

foregoing APPELLANT’S REPLY BRIEF with the Clerk of the Court

for the United States Court of Appeals for the Sixth Circuit using the

appellate CM/ECF system.

     I certify that all participants in the case are registered CM/ECF

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                                         /s/ Aaron D. Lindstrom




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